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                                                                  June 5, 2020

     VIA ECF

     Hon. Michael A. Shipp, U.S.D.J.
     Clarkson S. Fisher Federal Building
      and U.S. Courthouse, Room 5000
     402 E. State Street
     Trenton, New Jersey 08608

                Re:         UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                            Civil Action No. 19-17272 (MAS) (ZNQ)

     Dear Judge Shipp:

            Plaintiffs respectfully submit this notice of supplemental authority supporting their
     opposition to Defendants’ motions to dismiss.

              On June 2, 2020, in Sony Music Entertainment v. Cox Communications, Inc., Case No.
     1:18-cv-950-LO-JFA (E.D. Va.)—a suit brought by many of the same Plaintiffs here—the
     district court issued a post-trial order denying the defendant internet service provider’s motion
     for judgment as a matter of law and affirming the jury’s December 2019 verdict of contributory
     infringement and vicarious liability. Plaintiffs’ allegations in this case regarding Defendants’
     contributory and vicarious liability are substantially similar to those that the Cox court concluded
     were legally sound and factually supported. In particular, the order addresses several of the legal
     issues raised by the briefing on the Defendants’ motions to dismiss in this case, and resolves
     them in Plaintiffs’ favor. A copy of the decision is attached as Exhibit A.

                                                              Respectfully yours,

                                              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                              s/ Thomas R. Curtin

                                                              THOMAS R. CURTIN

     Enclosure
     cc:    All Counsel (via ECF and e-mail)


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